                                UNITED STATES DISTRICT COURT
                                            for the
                             EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Dervin Paul Francis                                                Docket No. 5:17-CR-362-1H

                                Petition for Action on Supervised Release

COMES NOW Daniel J. Heimrich, U.S. Probation Officer of the court, presenting a petition for
modification of the Judgment and Commitment Order of Dervin Paul Francis, who, upon an earlier plea of
guilty to Possession of a Firearm by a Felon, in violation of 18 U.S.C § 922(g)(1), 18 U.S.C. § 924(a)(2) ,
was sentenced by the Honorable Malcolm J. Howard, Senior U.S. District Judge, on June 14, 2018, to the
custody of the Bureau of Prisons for a term of 30 months. It was further ordered that upon release from
imprisonment the defendant be placed on supervised release for a period of 36 months.

   Dervin Paul Francis was released from custody on January 17, 2020, at which time the term of
supervised release commenced.

    On March 6, 2020, a violation report was submitted to the court stating that the defendant tested positive
for Marijuana. The court agreed to continue the defendant on supervision and continue substance abuse
treatment.

    On June 5, 2020, a motion for revocation was submitted and a warrant requested as the defendant
allegedly committed the offenses of Robbery With a Dangerous Weapon and Posses Stolen Goods/ Property
on June 4, 2020, in Cumberland County case 20CR055355. A revocation hearing was held on September
15, 2020, and all violations were dismissed as there was insufficient evidence to move forward with
revocation hearing and the defendant was continued on supervision.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS: On October 19, 2020, the defendant submitted a urine sample that tested positive for
marijuana. The defendant admitted that he would be positive for marijuana prior to a urine sample being
taken and stated that he used the drug a few days prior with a friend. The defendant was remorseful for his
actions and advised that it would not happen again. The defendant obtained a substance abuse assessment
on October 5, 2020, and it was recommended that the defendant obtain a mental health evaluation. In
response to the positive urinalysis, we are recommending that the conditions of supervision be made to
include the defendant obtaining a mental health evaluation and complying with all recommendations.

The defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

   1. The defendant shall participate in a program of mental health treatment, as directed by the probation
      office.

Except as herein modified, the judgment shall remain in full force and effect.




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Reviewed and approved,                            I declare under penalty of perjury that the foregoing
                                                  is true and correct.


/s/ Eddie J. Smith                                /s/ Daniel J. Heimrich
Eddie J. Smith                                    Daniel J. Heimrich
Supervising U.S. Probation Officer                U.S. Probation Officer
                                                  150 Rowan Street Suite 110
                                                  Fayetteville, NC 28301
                                                  Phone: 910-354-2531
                                                  Executed On: October 19, 2020

                                     ORDER OF THE COURT

                                20th
Considered and ordered this _________              October
                                         day of ____________________, 2020, and ordered filed and
made a part of the records in the above case.

________________________________
Malcolm J. Howard
Senior U.S. District Judge




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